                                                      Case 2:19-cv-02734-DSF-E Document 9 Filed 05/01/19 Page 1 of 4 Page ID #:31



                                                           1   Stacey H. Wang (State Bar No. 245195)
                                                               Vince Farhat (State Bar No. 183794)
                                                           2   Juan M. Rodriguez (State Bar No. 313284)
                                                               HOLLAND & KNIGHT LLP
                                                           3   400 South Hope Street, 8th Floor
                                                               Los Angeles, CA 90071
                                                           4   Tel.: 213.896.2400
                                                               Fax: 213.896.2450
                                                           5   stacey.wang@hklaw.com
                                                               vince.farhat@hklaw.com
                                                           6   juan.rodriguez@hklaw.com
                                                           7   Attorneys for Defendant
                                                               Yuh-Yue Chen
                                                           8
                                                               Amy J. Longo (SBN 198304)
                                                           9   Janet R. Weissman (SBN 137023)
                                                               Ansu Nath Banerjee (D.C. Bar No. 440660)
                                                          10   SECURITIES AND EXCHANGE COMMISSION
                                                               444 S. Flower Street, Suite 900
                                                          11   Los Angeles, California 90071
                                                               Telephone: (323) 965-3998
                                                          12   Facsimile: (213) 443-1904
                       400 South Hope Street, 8th Floor




                                                               longoa@sec.gov
Holland & Knight LLP

                           Los Angeles, CA 90071




                                                          13   weissmanj@sec.gov
                             Fax: 213.896.2450
                             Tel: 213.896.2400




                                                               banerjeea@sec.gov
                                                          14
                                                               Attorneys for Plaintiff
                                                          15   Securities and Exchange Commission
                                                          16
                                                          17                         UNITED STATES DISTRICT COURT
                                                          18                        CENTRAL DISTRICT OF CALIFORNIA
                                                          19   SECURITIES AND EXCHANGE                )   Case No.: 2:19-cv-02734-DSF-E
                                                               COMMISSION,                            )   Hon. Dale S. Fischer
                                                          20                                          )
                                                                              Plaintiff,              )   STIPULATION TO EXTEND TIME
                                                          21                                          )   TO RESPOND TO INITIAL
                                                                     vs.                              )   COMPLAINT BY NOT MORE
                                                          22                                          )   THAN 30 DAYS (L.R. 8-3)
                                                               YUH-YUE CHEN,                          )
                                                          23                                          )
                                                                              Defendant.              )   Complaint Filed: April 10, 2019
                                                          24                                          )   Response Date: May 6, 2019
                                                                                                      )   New Response Date: June 5, 2019
                                                          25                                          )
                                                                                                      )
                                                          26                                          )
                                                          27
                                                          28
                                                               STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
                                                                            BY NOT MORE THAN 30 DAYS (L.R. 8-3)
                                                      Case 2:19-cv-02734-DSF-E Document 9 Filed 05/01/19 Page 2 of 4 Page ID #:32



                                                           1           This Stipulation is entered into by and between Defendant YUH-YUE CHEN
                                                           2   (“Defendant”) and Plaintiff SECURITIES AND EXCHANGE COMMISSION
                                                           3   (“SEC”), through their respective undersigned counsel, with reference to the
                                                           4   following:
                                                           5           WHEREAS, Defendant was served with summons and complaint in this action
                                                           6   on April 13, 2019, making a response due by May 6, 2019;
                                                           7           WHEREAS, counsel for Defendant and the SEC have agreed to extend
                                                           8   Defendant’s time to respond to SEC’s Complaint to June 5, 2019; and
                                                           9           WHEREAS, in accordance with Local Rule 8-3, this extension is not for more
                                                          10   than a cumulative total of thirty (30) days from the date the response initially would
                                                          11   have been due and, therefore, no court order is necessary.
                                                          12           NOW, THEREFORE, the parties hereby stipulate that Defendant shall have
                       400 South Hope Street, 8th Floor
Holland & Knight LLP

                           Los Angeles, CA 90071




                                                          13   until June 5, 2019 to respond to the Complaint.
                             Fax: 213.896.2450
                             Tel: 213.896.2400




                                                          14   Dated: April 30, 2019
                                                          15                                          Respectfully Submitted,
                                                          16                                          HOLLAND & KNIGHT LLP
                                                          17
                                                                                                      /s/ Stacey H. Wang
                                                          18                                          Stacey H. Wang
                                                                                                      Vince Farhat
                                                          19                                          Juan M. Rodriguez
                                                          20                                          Attorneys for Defendant,
                                                                                                      Yuh-Yue Chen
                                                          21
                                                          22   Dated: April 30, 2019                  SECURITIES AND EXCHANGE
                                                                                                      COMMISSION
                                                          23
                                                          24                                          /s/ Amy J Longo
                                                                                                      Amy J. Longo
                                                          25                                          Ansu N. Banerjee
                                                                                                      Janet R. Weissman
                                                          26
                                                                                                      Attorneys for Plaintiff,
                                                          27                                          Securities and Exchange Commission
                                                          28
                                                               #67448684_v1                             -2-
                                                                STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
                                                                             BY NOT MORE THAN 30 DAYS (L.R. 8-3)
                                                      Case 2:19-cv-02734-DSF-E Document 9 Filed 05/01/19 Page 3 of 4 Page ID #:33



                                                           1                             L.R. 5-4.3.4(a) CERTIFICATION
                                                           2           Pursuant to L.R. 5-4.3.4(a)(2), Stacey H. Wang hereby attests that all other
                                                           3   signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
                                                           4   content and have authorized the filing.
                                                           5
                                                                                                               /s/ Stacey H. Wang
                                                           6                                                   Stacey H. Wang
                                                           7
                                                           8
                                                           9
                                                          10
                                                          11
                                                          12
                       400 South Hope Street, 8th Floor
Holland & Knight LLP

                           Los Angeles, CA 90071




                                                          13
                             Fax: 213.896.2450
                             Tel: 213.896.2400




                                                          14
                                                          15
                                                          16
                                                          17
                                                          18
                                                          19
                                                          20
                                                          21
                                                          22
                                                          23
                                                          24
                                                          25
                                                          26
                                                          27
                                                          28
                                                               #67448684_v1                              -3-
                                                                STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
                                                                             BY NOT MORE THAN 30 DAYS (L.R. 8-3)
                                                      Case 2:19-cv-02734-DSF-E Document 9 Filed 05/01/19 Page 4 of 4 Page ID #:34



                                                           1                                  PROOF OF SERVICE
                                                           2
                                                               State of California        )
                                                           3                              )      ss.
                                                               County of Los Angeles      )
                                                           4
                                                                     I am employed in the County of Los Angeles, State of California. I am over
                                                           5   the age of 18 and not a party to the within action. My business address is 400 South
                                                               Hope Street, 8th Floor, Los Angeles, California 90071.
                                                           6
                                                                   On May 1, 2019, I served the document described as STIPULATION TO
                                                           7   EXTEND TIME TO RESPOND TO INITIAL COMPLAINT BY NOT MORE
                                                               THAN 30 DAYS (L.R. 8-3) on the interested parties in this action:
                                                           8
                                                               [x] By Electronic Transfer to the CM/ECF System
                                                           9
                                                                      In accordance with Federal Rules of Civil Procedure 5(d) (3), Local Rule 5-
                                                          10   3.2, and General Order 07-08, I uploaded via electronic transfer a true and correct
                                                               copy scanned into an electronic file in Adobe "pdf" format of the above-listed
                                                          11   documents to the United States District Court Central District of California' Case
                                                               Management and Electronic Case Filing (CM/ECF) system on this date. It is my
                                                          12   understanding that by transmitting these documents to the CM/ECF system, they will
                       400 South Hope Street, 8th Floor




                                                               be served on all parties of record according to the preferences chosen by those parties
Holland & Knight LLP

                           Los Angeles, CA 90071




                                                          13   within the CM/ECF system. The transmission was reported as complete and without
                             Fax: 213.896.2450
                             Tel: 213.896.2400




                                                               error.
                                                          14
                                                                    I declare under penalty of perjury under the laws of the United States of
                                                          15   America that the above is true and correct.
                                                          16   Executed on May 1, 2019, at Los Angeles, California.
                                                          17                                                 /s/ Elena Zyalyukova
                                                                                                                 Elena Zyalyukova
                                                          18
                                                          19
                                                          20
                                                          21
                                                          22
                                                          23
                                                          24
                                                          25
                                                          26
                                                          27
                                                          28
                                                               #67448684_v1                            -4-
                                                                STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
                                                                             BY NOT MORE THAN 30 DAYS (L.R. 8-3)
